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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS


 MISH INTERNATIONAL MONETARY INC.,
 on behalf of itself and
 all others similarly situated,
                                                              Case No. 1:20-cv-04577
                     Plaintiff,
                                                              Hon. Gary S. Feinerman
          v.

 VEGA CAPITAL LONDON, LTD., and JOHN                          Magistrate Judge Jeffrey T. Gilbert
 DOES 1-100,

                     Defendants.

                   DEFENDANT VEGA CAPITAL LONDON LIMITED'S
              MOTION TO DISMISS PLAINTIFF'S CLASS ACTION COMPLAINT

         Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendant Vega

Capital London Limited (“Vega”) hereby moves to dismiss Plaintiff Mish International

Monetary, Inc.'s Class Action Complaint for failure to state a claim. In support of this motion,

Vega states as follows:

         1.      On August 4, 2020, Plaintiff Mish International Monetary Inc. ("Mish") filed a

five count Class Action Complaint alleging violations of the Commodity Exchange Act (7

U.S.C. § 1, et seq.) and the Sherman Act (15 U.S.C. § 1, et seq.), relating to the trading of WTI

crude oil futures on April 20, 2020, a day when the crude oil futures price traded at a negative

price.

         2.      Vega is moving to dismiss Mish's Class Action Complaint for failure to state a

claim pursuant to Rule 12(b)(6). Mish's complaint should be dismissed for two reasons. First,

Mish's market manipulation claims fail to comply with Rule 9(b)'s requirement that fraud claims

be pled with particularity. Second, all of Mish's claims fail Rule 8(a)'s requirements that it allege

specific facts that plausibly give rise to relief.
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       3.      Vega has enclosed a Memorandum of Law setting forth the reasons why its

motion should be granted.

       WHEREFORE Vega respectfully requests that the Court dismiss Mish's Class Action

Complaint for failure to state a claim.

Dated: November 27, 2020                    Respectfully submitted,

                                            VEGA CAPITAL LONDON LIMITED


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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on November 27, 2020, a copy of the foregoing Motion to Dismiss

Plaintiff's Class Action Complaint, including the accompanying declaration and memorandum of

law, was filed using the CM/ECF electronic filing system. Service of this filing will be made on

attorneys of record in the case by operation of the Court's electronic filing system, and parties

may access these filings through the Court's electronic filing system.

                                                  /s/ Michael P. Kelly
                                                  Michael P. Kelly




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